                                   UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF ARIZONA


 In re:                                               §     Case No. 3:17-BK-10806-DPC
                                                      §
 MARK ANDREW BETTS                                    §
 DEBRA ANN BETTS                                      §
                                                      §
                                 Debtor(s)            §

                                 NOTICE OF TRUSTEE’S FINAL REPORT AND
                                    APPLICATION FOR COMPENSATION
                                     AND DEADLINE TO OBJECT (NFR)

       Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Lawrence J.
Warfield, trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s
professionals have filed final fee applications, which are summarized in the attached Summary of
Trustee’s Final Report and Applications for Compensation.

        The complete Final Report and all applications for compensation are available for inspection at
the Office of the Clerk, at the following address:

          230 North First Avenue, Suite 101, Phoenix, Arizona 85003-1706

       Any person wishing to object to any fee application that has not already been approved or to
the Final Report, must file a written objection within 21 days from the mailing of this notice. The
proposed distribution is dependent on the Court's ruling on the allowance of Administrative expenses,
additional Court costs, remaining contests of claims, and additional interest.

       Objections must be in writing and filed with a request for a hearing with the Clerk, U.S.
Bankruptcy Court, 230 North First Avenue, Suite 101, Phoenix, Arizona 85003-1706, the trustee
Lawrence J. Warfield, PO Box 3350, Carefree, AZ 85377, and the United States Trustee, 230 N. 1st
Ave., Suite 204, Phoenix, AZ 85003-1706. If no objections are filed, the Court will act on the fee
applications and the trustee may pay dividends pursuant to FRBP 3009 without further order of the
Court.

Date Mailed:                                                      By: /s/ Lawrence J. Warfield
                                                                      Trustee
Lawrence J. Warfield
PO Box 3350
Carefree, AZ 85377




UST Form 101-7-NFR (10/1/2010)
  Case 3:17-bk-10806-DPC                Doc 59   Filed 09/20/18   Entered 09/20/18 14:54:21       Desc
                                                    Page 1 of 5
                                          UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF ARIZONA


    In re:                                                                  §          Case No. 3:17-BK-10806-DPC
                                                                            §
    MARK ANDREW BETTS                                                       §
    DEBRA ANN BETTS                                                         §
                                                                            §
                                     Debtor(s)                              §

                                       SUMMARY OF TRUSTEE’S FINAL REPORT
                                       AND APPLICATIONS FOR COMPENSATION

             The Final Report shows receipts of                                                                                    $26,424.58
             and approved disbursements of                                                                                          $3,553.43
             leaving a balance on hand of1:                                                                                        $22,871.15


             Claims of secured creditors will be paid as follows:

Claim            Claimant                                     Claim                Allowed                  Interim                    Proposed
No.                                                         Asserted              Amount of              Payments to                    Amount
                                                                                     Claim                     Date
              1 Pinal County                                    $10.92                     $0.00                    $0.00                     $0.00
                Treasurer


                                                    Total to be paid to secured creditors:                                              $0.00
                                                                      Remaining balance:                                           $22,871.15

             Applications for chapter 7 fees and administrative expenses have been filed as follows:

Reason/Applicant                                                                       Total                Interim                    Proposed
                                                                                   Requested             Payments to                   Payment
                                                                                                               Date
Lawrence J. Warfield, Trustee Fees                                                  $3,392.46                       $0.00              $3,392.46
Lawrence J. Warfield, Trustee Expenses                                                 $252.43                      $0.00                 $252.43
Auctioneer Fees and Expenses, Auctioneer for                                           $120.00                  $120.00                       $0.00
Trustee Fees
Auctioneer Fees and Expenses, Auctioneer for                                           $225.00                  $225.00                       $0.00
Trustee Expenses
Other: Auctioneer fees and Expenses Doc 56,                                              $62.50                   $62.50                      $0.00


1
  The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement will be distributed pro
rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum compensation set forth under
11 U.S.C. § 326(a) on account of disbursement of the additional interest.
UST Form 101-7-NFR (10/1/2010)
    Case 3:17-bk-10806-DPC                        Doc 59          Filed 09/20/18               Entered 09/20/18 14:54:21                        Desc
                                                                     Page 2 of 5
Auctioneer for Trustee Fees
Other: BKASSETS.COM, LLC, Auctioneer for                   $1,959.90           $1,959.90         $0.00
Trustee Fees
Other: Doc 44 Auctioneer , Auctioneer for                    $245.90            $245.90          $0.00
Trustee Fees
Other: Doc 48 Auctioneer Fees and Expenses,                  $245.90            $245.90          $0.00
Auctioneer for Trustee Fees
Other: Auctioneer fees and Expenses Doc 56,                  $245.90            $245.90          $0.00
Auctioneer for Trustee Expenses
Other: BKASSETS.COM, LLC, Auctioneer for                     $245.90            $245.90          $0.00
Trustee Expenses
Other: Doc 44 Auctioneer , Auctioneer for                      $76.00            $76.00          $0.00
Trustee Expenses
Other: Doc 48 Auctioneer Fees and Expenses,                    $55.00            $55.00          $0.00
Auctioneer for Trustee Expenses



                    Total to be paid for chapter 7 administrative expenses:                 $3,644.89
                                                       Remaining balance:                  $19,226.26

         Applications for prior chapter fees and administrative expenses have been filed as follows:
NONE



                 Total to be paid to prior chapter administrative expenses:                     $0.00
                                                       Remaining balance:                  $19,226.26

        In addition to the expenses of administration listed above as may be allowed by the Court,
priority claims totaling $5,887.84 must be paid in advance of any dividend to general (unsecured)
creditors.

         Allowed priority claims are:

Claim         Claimant                                Allowed Amt.          Interim          Proposed
No.                                                        of Claim      Payments to         Payment
                                                                               Date
           2 Internal Revenue Service                      $5,887.84              $0.00      $5,887.84


                                        Total to be paid to priority claims:                $5,887.84
                                                       Remaining balance:                  $13,338.42

        The actual distribution to wage claimants included above, if any, will be the proposed payment
less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
UST Form 101-7-NFR (10/1/2010)
  Case 3:17-bk-10806-DPC            Doc 59     Filed 09/20/18     Entered 09/20/18 14:54:21       Desc
                                                  Page 3 of 5
       Timely claims of general (unsecured) creditors totaling $49,874.20 have been allowed and will
be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
timely allowed general (unsecured) dividend is anticipated to be 26.7 percent, plus interest (if
applicable).

         Timely allowed general (unsecured) claims are as follows:

Claim         Claimant                                 Allowed Amt.         Interim      Proposed
No.                                                         of Claim     Payments to      Amount
                                                                               Date
           3 Wells Fargo Bank, N.A.                       $15,259.89           $0.00     $4,081.13
           4 AMERICAN EXPRESS                               $1,840.63          $0.00       $492.26
             CENTURION BANK
           5 Wells Fargo Business Direct                  $16,887.49           $0.00     $4,516.41
             Division
           6 Synchrony Bank                                  $127.04           $0.00        $33.98
           7 Home Depot Loan Services                     $14,963.07           $0.00     $4,001.74
           8 Sandoval County Treasurer                       $796.08           $0.00       $212.90


                       Total to be paid to timely general unsecured claims:            $13,338.42
                                                       Remaining balance:                   $0.00

        Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
interest (if applicable).

         Tardily filed general (unsecured) claims are as follows: NONE



                 Total to be paid to tardily filed general unsecured claims:                $0.00
                                                        Remaining balance:                  $0.00

       Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
subordinated by the Court totaling $210.08 have been allowed and will be paid pro rata only after all
allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend
for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

       Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
subordinated by the Court are as follows:

Claim         Claimant                                 Allowed Amt.         Interim      Proposed
No.                                                         of Claim     Payments to      Amount
                                                                               Date
UST Form 101-7-NFR (10/1/2010)
  Case 3:17-bk-10806-DPC             Doc 59    Filed 09/20/18      Entered 09/20/18 14:54:21   Desc
                                                  Page 4 of 5
          2a Internal Revenue Service                          $210.08             $0.00              $0.00


                                 Total to be paid for subordinated claims:                          $0.00
                                                       Remaining balance:                           $0.00




                                          Prepared By: /s/ Lawrence J. Warfield
                                                       Trustee
Lawrence J. Warfield
PO Box 3350
Carefree, AZ 85377




STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-7-NFR (10/1/2010)
  Case 3:17-bk-10806-DPC            Doc 59      Filed 09/20/18      Entered 09/20/18 14:54:21           Desc
                                                   Page 5 of 5
